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                               Exhibit 33



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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                                                                                               Page 1
                       IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF MASSACHUSETTS

         -----------------------------------X

         IN RE:     PHARMACEUTICAL INDUSTRY                )

         AVERAGE WHOLESALE PRICE LITIGATION ) MDL No. 1456

         -----------------------------------) Civil Action

         THIS DOCUMENT RELATES TO:                         ) No. 01-12257-PBS

         United States of America, ex. rel. ) Hon. Patti Saris

         Ven-a-Care of the Florida Keys,                   ) Magistrate Judge

         Inc., v. Abbott Laboratories, Inc.,)

         Civil Action No. 06-11337-PBS; and )

         United States of America, ex. rel. ) VIDEOTAPED

         Ven-a-Care of the Florida Keys,                   ) DEPOSITION OF

         Inc., v. Dey, Inc., et. al., Civil ) THE ILLINOIS

         Action No. 05-11084-PBS; and United) DEPARTMENT OF

         States of America, ex. rel.                       ) HEALTHCARE AND

         Ven-a-Care of the Florida Keys,                   ) FAMILY SERVICES

         Inc., v. Boehringer Ingleheim                     ) by   JAMES PARKER

         Corp. et. al., Civil Action                       )

         No. 07-10248-PBS.                                 ) NOVEMBER 18, 2008

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                                                                                              Page 2
    1
                                     Videotaped deposition of JAMES PARKER,
    2
             called by the Plaintiffs for examination, taken
    3
             pursuant to notice, agreement and by the provisions
    4
             of the Rules of Civil Procedure for the United
    5
             States District Courts pertaining to the taking of
    6
             depositions, taken before DEBORAH HABIAN, a Notary
    7
             Public within and for the County of Cook, State of
    8
             Illinois, and a Certified Shorthand Reporter of
    9
             said State, at the United States Attorney's Office,
 10
             318 South 6th Street, Springfield, Illinois, on the
 11
             18th day of November, 2008, at 9:17 a.m.
 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22




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                                                                                            Page 32
    1
             at 9:42 a.m.
    2
             BY MS. OBEREMBT:
    3
                        Q.          Mr. Parker, could you review Exhibit 2?
    4
                        A.          Okay.
    5
                        Q.          Does this appear to be the federal
    6
             regulation regarding payment for prescription
    7
             drugs in state Medicaid programs?
    8
                        A.          Yes, it does.
    9
                        Q.          If I could direct your attention to
 10
             Section 447.331(b) entitled "Other drugs."                                     If
 11
             you could take a minute to read that paragraph?
 12
                        A.          (Witness reviewing document.)
 13
                                    Okay.
 14
                        Q.          Do you see where it says that it refers
 15
             to "...payment levels that the Agency has
 16
             determined by applying the lower of the -- (1)
 17
             Estimated acquisition cost plus reasonable
 18
             expense and fees established by the Agency; or
 19
             (2) Providers' usual and customary charges to the
 20
             general public"?
 21
                        A.          Yes.
 22
                        Q.          Has HFS established a reimbursement

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                                                                                             Page 33
    1
             methodology that applies these elements?
    2
                        A.          Yes.
    3
                        Q.          What about usual and customary charges
    4
             to the general public, how does the State define
    5
             that?
    6
                        A.          It's defined as the price that a
    7
             pharmacy would charge to a cash-paying customer.
    8
                        Q.          I'd like you to also look at Section
    9
             447.301 "Definitions."
 10
                        A.          (Witness so doing).
 11
                        Q.          Which I'm not sure that's on here,
 12
             actually.
 13
                                    MR. LIBMAN:                  Yes.
 14
                                    THE WITNESS:                  Yes.
 15
                                    MS. OBEREMBT:                  Oh, right above, sure.
 16
             If you could take a look at that where the second
 17
             sentence says, "Estimated acquisition cost"?
 18
                        A.          Okay.
 19
                        Q.          Are you familiar with that definition?
 20
                        A.          Yes, I am.
 21
                        Q.          Has Illinois tried to determine
 22
             estimated acquisition cost in accordance with

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                                                                                            Page 34
    1
             that definition?
    2
                        A.          Yes, we have.
    3
                        Q.          Does the State have a formula for
    4
             reimbursing for the drug ingredient portion of
    5
             pharmacy claims?
    6
                        A.          Yes, we do.
    7
                        Q.          And where is the State's formula
    8
             typically written down?
    9
                        A.          It is both in the rules that we publish
 10
             under the Illinois Administrative Procedure Act
 11
             and in our State Plan on file with Federal CMS.
 12
                        Q.          When you use the term "CMS," to what
 13
             are you referring?
 14
                        A.          The Centers for Medicaid and Medicare
 15
             Services or whichever one they put first.
 16
                        Q.          And is that part of the Department of
 17
             Health and Human Services?
 18
                        A.          Yes, it is.
 19
                                    MS. OBEREMBT:                I'd like the court
 20
             reporter to mark as Exhibit 3 a summary exhibit.
 21
                                               (Plaintiff's Exhibit Parker 003
 22
             was marked for ID)

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                                                                                            Page 61
    1
             you issue a final version of a rule?
    2
                        A.          Our rulemaking process internally to
    3
             the Agency does circulate the rules to all of the
    4
             divisions, and the rules would be commented upon
    5
             by the Division of Finance and the Office of
    6
             General Counsel and at times the Office of
    7
             Information Systems, which is the computer people
    8
             that have to program every policy change into the
    9
             computers.
 10
                        Q.          Turning back to Exhibit 3, has the
 11
             State of Illinois historically determined its
 12
             Estimated Acquisition Costs separate from its
 13
             determination of a dispensing fee?
 14
                        A.          Yes, I mean there was a period when
 15
             there was a correlation between a dispensing fee
 16
             on an individual product and acquisition cost,
 17
             but the process of determining each is separate.
 18
                        Q.          Has the State of Illinois ever had a
 19
             practice or a policy of paying increased
 20
             ingredient cost in order to make up for some type
 21
             of inadequate dispensing fee?
 22
                        A.          No.

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                                                                                              Page 76
    1
             a data element that is passed to the State for
    2
             the 41,000 NDCs that we cover on a regular basis,
    3
             and it needs to be accurate to solve the
    4
             problems.
    5
                        Q.          Is it the State's understanding that
    6
             the pricing provided to it by FDB is based on
    7
             prices reported by a drug manufacturers?
    8
                        A.          Yes.
    9
                                    MR. BERLIN:                   Excuse me.    Objection to
 10
             form.
 11
             BY MR. OBEREMBT:
 12
                        Q.          Has either Abbott Laboratories or Dey
 13
             Labs or Roxane or Boehringer Ingelheim ever come
 14
             to the State of Illinois and informed the State
 15
             that its reported AWPs did not reflect accurate
 16
             prices?
 17
                                    MR. BERLIN:                   Objection, form.
 18
                                    MR. MALONEY:                   Objection.
 19
                                    MR. REALE:                   Objection.
 20
                                    THE WITNESS:                   No.
 21
             BY MS. OBEREMBT:
 22
                        Q.          The United States in its complaints

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                                                                                              Page 77
    1
             against Dey and Abbott and Roxane has alleged
    2
             that the manufacturers reported falsely inflated
    3
             AWPs to FDB with the intention of causing the
    4
             Medicaid program to pay inflated reimbursements
    5
             to its customers and that they did this for the
    6
             purpose of increasing the sales to their
    7
             customers.
    8
                                    Has the State of Illinois ever approved
    9
             of that conduct?
 10
                                    MR. REALE:                   Objection.
 11
                                    MR. MALONEY:                   Objection.
 12
                                    MR. BERLIN:                   Objection.
 13
                                    THE WITNESS:                   No.
 14
             BY MS. OBEREMBT:
 15
                        Q.          If I told you that Dey and Abbott and
 16
             Roxane's reported AWPs for certain generics were
 17
             sometimes three to ten times higher than the
 18
             actual sales prices, do you think that was
 19
             something that Illinois understood and accepted
 20
             when it established the various reimbursement
 21
             methodologies we've seen in Exhibit 3?
 22
                                    MR. MALONEY:                   Objection, form.

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                                                                                               Page 78
    1
                                    MR. REALE:                   Objection.
    2
                                    THE WITNESS:                   No.
    3
             BY MS. OBEREMBT:
    4
                        Q.          If these manufacturers, Dey, Abbott and
    5
             Roxane, indeed reported prices to to FDB in the
    6
             manner that I've described, knowing and intending
    7
             that the State Medicaid program would pay
    8
             inflated reimbursement to providers who purchased
    9
             those drugs, would you consider that fraudulent?
 10
                                    MR. REALE:                   Objection, form.
 11
                                    MR. MALONEY:                   Objection, form.
 12
                                    THE WITNESS:                   Yes.
 13
                                    MS. OBEREMBT:                   I'd like to take a quick
 14
             break and see if I have anything else.
 15
                                    THE VIDEOGRAPHER:                     Going off the record
 16
             at 10:54 a.m.
 17
                                               (Recess taken.)
 18
                                    THE VIDEOGRAPHER:                     Back on the record
 19
             at 11:06 a.m.
 20
             BY MS. OBEREMBT:
 21
                        Q.          Mr. Parker, I wanted to ask you about
 22
             the relationship between the rebates the State

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    1
             sentence, "We are recommending that HCFA work to
    2
             insure that States reimburse the ingredient
    3
             portion of Medicaid drugs in a manner more
    4
             consistent with the findings of this report."
    5
             Correct?
    6
                        A.          Correct.
    7
                        Q.          Did you ask Mr. Hazelwood what steps
    8
             were undertaken to reimburse prescription drugs
    9
             "in a manner more consistent with the findings of
 10
             this report"?
 11
                        A.          Well, not with -- specifically, you
 12
             know, what did we do in reaction to this report.
 13
             What did we do in reaction to this report and
 14
             reports like it and other information we had.                                         We
 15
             continued to change our discount off of AWP.                                        We
 16
             increased the use of MAC pricing to typically try
 17
             to chase what the accurate acquisition cost was.
 18
                        Q.          But at no time has Illinois adopted a
 19
             definition of Estimated Acquisition Cost for
 20
             generic drugs that approaches the levels in this
 21
             OIG report? And when I say "levels," I'm
 22
             referring to the difference between acquisition

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                                                                                           Page 241
    1
             cost and AWP.
    2
                                    MR. LIBMAN:                  Objection to form.
    3
                                    THE WITNESS:                  In reality, we have.
    4
             BY MR. REALE:
    5
                        Q.          Okay, explain to me how.
    6
                        A.          Because you need to understand surveys
    7
             like this are talking about aggregate numbers.
    8
                        Q.          Right.
    9
                        A.          They are not saying that every generic
 10
             is available at AWP minus 45 or 85 or 60 or any
 11
             of the other numbers in there, and in fact,
 12
             evidence would suggest they're not.
 13
                                    That's the problem caused by inaccurate
 14
             AWPs, you don't know where they are with relation
 15
             to reality on a drug-by-drug basis, and we have
 16
             to reimburse on a drug-by-drug basis.
 17
                                    Were we to use a formula that simply
 18
             said "AWP -85%," we would be grossly underpaying
 19
             costs on many generics, particularly newer
 20
             generics.                Hence, the need to have a multitiered
 21
             process that uses a formula based on AWP or a
 22
             Federal Upper Limit or a State MAC.

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    1
                                    If you weighted our reimbursement today
    2
             on generics and compared our aggregate spend to
    3
             AWP, you would get a number somewhere in the 50
    4
             to 60 range as a discount off of AWP, but you
    5
             can't do that on every single drug because not
    6
             every single drug is available at that price.
    7
                        Q.          And the regulations, the federal
    8
             regulations themselves permit Illinois Medicaid
    9
             to pay more than Estimated Acquisition Cost on
 10
             some drugs, correct?
 11
                                    MR. LIBMAN:                   Objection to form.
 12
                                    THE WITNESS:                   No.
 13
             BY MR. REALE:
 14
                        Q.          Well, let's look at the language to the
 15
             regulations that you have out in front of you.
 16
             It states, 447.331 --
 17
                                    MR. LIBMAN:                   Jeff, for the record, what
 18
             exhibit number are you looking at?
 19
                                    MR. REALE:                   DOJ Exhibit 2.
 20
                                    MR. LIBMAN:                   Exhibit 2,okay.
 21
             BY MR. REALE:
 22
                        Q.          In paragraph (b) Other drugs, "The

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                                                                                            Page 244
    1
                        Q.          There's nothing in these regulations
    2
             that prohibit Illinois Medicaid from paying more
    3
             than Estimated Acquisition Cost for a particular
    4
             drug?
    5
                                    MR. LIBMAN:                  Same --
    6
                                    MS. OBEREMBT:                  Objection.
    7
                                    MR. LIBMAN:                  Same objection.
    8
                                    THE WITNESS:                  It could be read that
    9
             way, yes.
 10
             BY MR. REALE:
 11
                        Q.          And the Federal -- you're familiar with
 12
             the Federal Upper Limits program generally?
 13
                        A.          Yes.
 14
                        Q.          And in the regulations that govern the
 15
             Federal Upper Limits, they refer to "in the
 16
             aggregate," correct?
 17
                        A.          Clearly, for Federal Upper Limits.
 18
                        Q.          Right, the Federal --
 19
                        A.          You can -- it's an aggregate
 20
             calculation.                    You can pay on a particular drug
 21
             greater than the Federal Upper Limit, if in the
 22
             aggregate.                 That, I agree.

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    1
                        Q.          And the same language appears here, the
    2
             same language being the "in the aggregate"
    3
             language referring to the total payments made for
    4
             drugs that have no FUL or brand name drugs as
    5
             specified in this regulation?
    6
                        A.          Yes, it does appear that you could pay
    7
             on a particular drug higher than the Estimated
    8
             Acquisition Cost.
    9
                        Q.          Let's go back to Roxane Illinois
 10
             Exhibit 9.
 11
                        A.          (Witness so doing).
 12
                        Q.          All right, let's turn to the very last
 13
             page of this document.                              It's 2 of 2, Appendix 3,
 14
             Bates page HHD014-0460, and this is Bruce
 15
             Vladeck, Administrator at HCFA's response to the
 16
             OIG's report.                     It's entitled, "HCFA Comments on
 17
             Office of Inspector General Draft Report
 18
             Entitled:                'Medicaid Pharmacy -- Actual Cost of
 19
             Generic Prescription Drug Products.'"
 20
                                    In the last paragraph, he states, "We
 21
             believe the findings in this report are
 22
             significant and warrant the attention of all

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                                                                                          Page 289
    1
                                    What is a JCAR Staff Analysis?
    2
                        A.          I can only assume it's what it purports
    3
             to be.            It's not a document that we would see in
    4
             our Agency.                   It would appear to be a document
    5
             prepared by staff for the committee to brief the
    6
             legislative members of the committee.
    7
                        Q.          Do you know who Alphonso Cano is --
    8
                        A.          No.
    9
                        Q.          -- or Con-no?
 10
                        A.          No, I do not.
 11
                        Q.          Now, in this document, it refers to the
 12
             elimination of Whole Acquisition Cost as "one of
 13
             the options for determining the maximum price DPA
 14
             pay for a drug," correct?
 15
                        A.          Yes.
 16
                        Q.          And this document is discussing the
 17
             move back to Average Wholesale Price and
 18
             eliminating Whole Acquisition Cost in the State's
 19
             definition of Estimated Acquisition Cost,
 20
             correct?
 21
                        A.          My fault, I was reading and not
 22
             listening.

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    1
             BY MR. REALE:
    2
                        Q.          "The audit reports that pharmacies can
    3
             purchase generic and brand name drugs for 65% and
    4
             22%, respectively, less than the wholesale
    5
             price."              And, "In this rulemaking, DPA is
    6
             increasing the percentage deduction from the AWP
    7
             for generic drugs from 12% to 20% and brand names
    8
             from 10% to 11%.                         When deducted from the
    9
             percentage discount allowed for generic and brand
 10
             name drugs (64% and 22%), an overall profit of
 11
             44% is made by the pharmacy when the generic
 12
             drugs are dispensed and 11% when brand name drugs
 13
             are dispensed.                       This profit disparity is another
 14
             way this rule promotes the dispensing of generics
 15
             over brand names."
 16
                                    Did I read that correctly?
 17
                        A.          Yes, you did.
 18
                        Q.          Now, does Illinois Medicaid promote the
 19
             dispensing of generic drugs through the
 20
             ingredient cost reimbursement?
 21
                                    MS. OBEREMBT:                 Objection.
 22
                                    THE WITNESS:                 No.

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